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                                                                                                                                                A




                                                               MUNSCH HARDT MOVANTS
37   Total Movants
37   Movants received Notice of Bankruptcy
37   Movants received Notice of Joint Motion to Approve Compromise and Settlement
12   Movants filed objections to Notice of Joint Motion to Approve and Compromise Settlement (Case No. 16-41044; In re: Payson
     Petroleum, Inc., et al. ; in the United States Bankruptcy Court for the Eastern District of Texas, Sherman Division.)
7    Movants filed Proofs of Claim (Case No. 16-41044; In re: Payson Petroleum, Inc., et al. ; in the United States Bankruptcy Court for the
     Eastern District of Texas, Sherman Division).
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                          GENERAL PARTNERS OF PAYSON PETROLEUM 3 WELL 2014 LP
                                         ADVERSARY # 18-04074
                                       MUNSCH HARDT MOVANTS
                                                                        Notice of LPs             Notice of 9019              POC            Filed Objection to Notice of 9019 Motion
                           Movant                                     Bankruptcy filings             Motion                                     9019 Motion        Case 17-40180
                                                                        Case 17-40179             Case 17-40179                                Case 16-41044          [Dkt. 31]
                                                                            [Dkt. 2]                [Dkt. 34]                                    [Dkt. 154]
3 Well MGP, LLC                                                          Filed Petition                 Y                                                                  Y
4 in 1 LLC, served through Kurt Erickson                                       Y                        Y                                                                  Y
ACME Energy Company, LLC                                                       Y                        Y                       4                   234                    Y
                                                                                                                           (17-40179)
Gary W. Amerson                                                                 Y                         Y                                                              Y
Fay L. Bush                                                                     Y                         Y                                         156, 164             Y
Warren V. Bush                                                                  Y                         Y                                         156, 164             Y
Jeffrey D. Carter                                                               Y                         Y                                                              Y
Carrie R. Dahmer Revocable Trust, through Trustee Tarry D.                      Y                         Y                                                              Y
Dahmer
The Kurt & Linda Erickson Estate Trust, through Trustee Kurt                    Y                         Y                                                              Y
Erickson
Flynt Family Incorporated                                                       Y                         Y                    38                     257                Y
                                                                                                                           (16-41044)
Ryan Grossman                                                                   Y                         Y                                                              Y
Luis Gonzalez                                                                   Y                         Y                                                              Y
Marc Henn                                                                       Y                         Y                                                              Y
Thomas J. Hinshaw                                                               Y                         Y                                                              Y
Thomas J. Hoppe                                                                 Y                         Y                    71                     177                Y
                                                                                                                           (16-41044)
Hupakoe, LLC                                                                    Y                         Y                                                              Y
KAPAA LLC                                                                       Y                         Y                                           208                Y
Timothy H. Moore                                                                Y                         Y                    35                                        Y
                                                                                                                           (16-41044)
Gerald L. Myer                                                                  Y                         Y                                                              Y
Michael Niemann                                                                 Y                         Y                                       243, 244, 245          Y
Thomas Partridge                                                                Y                         Y                    29                   157, 219             Y
                                                                                                                           (16-41044)
Lois Partridge                                                                  Y                         Y                    29                   157, 219             Y
                                                                                                                           (16-41044)
Jay Pond                                                                        Y                         Y                                                              Y
                                          Case 18-04074   Doc 12-1   Filed 11/15/18
                                                                                  Entered 11/15/18 12:27:43 Desc Exhibit A Page 3 of 3
                                                                       Notice of LPs          Notice of 9019            POC          Filed Objection to Notice of 9019 Motion
                          Movant                                     Bankruptcy filings           Motion                                9019 Motion        Case 17-40180
                                                                       Case 17-40179          Case 17-40179                            Case 16-41044          [Dkt. 31]
                                                                          [Dkt. 2]               [Dkt. 34]                               [Dkt. 154]
Rose Sobel Revocable Trust, through Trustees Richard Sobel,                  Y                        Y                                                            Y
Michael Sobel & Herbert Sobel
Riverstone Resources, Ltd.                                                     Y                   Y                                                            Y
Kelly Dean Sanders                                                             Y                   Y                                                            Y
Janys Schroeder                                                                Y                   Y                                                            Y
Raymond A. Smith                                                               Y                   Y                                                            Y
Janet S. Smith                                                                 Y                   Y                                                            Y
Trewitt Living Trust, through Trustees Mark Trewitt and                        Y                   Y                 54                                         Y
Romalyn Trewitt                                                                                                  (16-41044)
Wailua LLC                                                                     Y                   Y                                                            Y
Julie Wakeman                                                                  Y                   Y                              243, 244, 245                 Y
Jimmie R. Walker                                                               Y                   Y                                   189                      Y
Steven Wiesenfeld                                                              Y                   Y                                   242                      Y
Carolyn Wiesenfeld                                                             Y                   Y                                                            Y
Wildflower LLC                                                                 Y                   Y                                                            Y
David J. Zawisha                                                               Y                   Y                                                            Y
